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                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       PABLO RAZO FIERRO                                                          DISTRICT JUDGE:      Robert Holmes Bell

    CASE NUMBER                      DATE                 TIME (begin/end)              PLACE                 INTERPRETER
      1:12-CR-98                     12/9/15         9:15 - 9:40 a.m.             Grand Rapids                 Ellen Donohue




                                                             APPEARANCES
Government:                                            Defendant:                                       Counsel Designation:
Nils Kessler                                           Britt Cobb                                       Retained

             TYPE OF HEARING                                 DOCUMENTS                                CHANGE OF PLEA
    Arraignment:                                   Defendant's Rights                     Charging Document:
       mute             nolo contendre                                                        Read          Reading Waived
                                                   Waiver of Indictment
       not guilty       guilty                                                            Guilty Plea to Count(s)
                                                   Other:
    Final Pretrial Conference                                                             of the
    Detention        (waived     )
                                                                                          Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                          Court to Issue:

    Bond Violation                                 Order of Detention                         Presentence Report Ordered
    Change of Plea                                 Notice of Sentencing                       Presentence Report Waived
                                                   Order Appointing Counsel                   Plea Accepted by the Court
✔   Sentencing
                                               ✔   Other:
    Trial                                                                                     Plea Taken under Advisement
                                               Judgment
    Other:                                                                                    No Written Plea Agreement

                                                              SENTENCING

Imprisonment: 15 months                                             Plea Agreement Accepted:       x Yes     No

Probation:                                                          Defendant informed of right to appeal:    x Yes        No
Supervised Release: 1 year                                          Counsel informed of obligation to file appeal:    ✔   Yes   No

Fine: $                                                             Conviction Information:
Restitution: $232,531.25                                                Date: 8/31/15
                                                                        By: Plea
Special Assessment: $ 100.00
                                                                        As to Count (s): 1

ADDITIONAL INFORMATION:
Count 2 of Indictment dismissed on motion of the government. Defendant's motion for variance denied.




                    CUSTODY/RELEASE STATUS                                              BOND AMOUNT AND TYPE

Remanded to USM                                                         $

CASE TO BE:                                                         TYPE OF HEARING:

Reporter/Recorder:         Kevin Gaugier                                Case Manager:      S. Bourque
